Case 1:15-cv-06119-AJN-JLC Document 373-14 Filed 06/19/17 Page 1 of 8




         Exhibit 14
Case 1:15-cv-06119-AJN-JLC Document 373-14 Filed 06/19/17 Page 2 of 8




                                                             BPCA001850
Case 1:15-cv-06119-AJN-JLC Document 373-14 Filed 06/19/17 Page 3 of 8




                                                             BPCA001851
Case 1:15-cv-06119-AJN-JLC Document 373-14 Filed 06/19/17 Page 4 of 8




                                                             BPCA001852
Case 1:15-cv-06119-AJN-JLC Document 373-14 Filed 06/19/17 Page 5 of 8




                                                             BPCA001853
Case 1:15-cv-06119-AJN-JLC Document 373-14 Filed 06/19/17 Page 6 of 8




                                                             BPCA001854
Case 1:15-cv-06119-AJN-JLC Document 373-14 Filed 06/19/17 Page 7 of 8




                                                             BPCA001855
Case 1:15-cv-06119-AJN-JLC Document 373-14 Filed 06/19/17 Page 8 of 8




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